              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:06-cr-00031-MR-DLH-4


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )                    ORDER
                                )
DANNY LEE HALL,                 )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 383].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

383] is GRANTED, and the Petition for Revocation of Supervised Release

[Doc. 374] is DISMISSED WITHOUT PREJUDICE.

     The Clerk of Court is respectfully directed to provide copies of this

Order to counsel for the Government, counsel for the Defendant, and the

United States Probation Office.     Signed: June 22, 2017

     IT IS SO ORDERED.




   Case 1:06-cr-00031-MR-WCM      Document 384        Filed 06/22/17   Page 1 of 1
